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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern                              New York
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____       11
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Greensill Capital Inc.
                                              ______________________________________________________________________________________________________



                                                  Greensill Capital Management Company (US) Inc.
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               4 6           3 1 1 ___
                                                                   3 ___
                                                                      9 ___
                                                                         7 1___
      Identification Number (EIN)             ___ ___ – ___ ___ ___




 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  2 Gansevoort Street
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  New York                     NY         10014
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  New York
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.greensill.com
                                              ____________________________________________________________________________________________________




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               Greensill Capital Inc.
              _______________________________________________________
Debtor        Name                                                                            Case number (if known)_____________________________________



 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 2 ___
                                                    3 ___
                                                       9
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor          Greensill Capital Inc.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases           No
       filed by or against the debtor
       within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases              No
       pending or being filed by a
       business partner or an                Yes.     Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                        District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this        Check all that apply:
       district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have           No
       possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
              Greensill Capital Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            3/25/2021
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Jill M. Frizzley
                                             _____________________________________________
                                                                                                          Jill M. Frizzley
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Director
                                             Title _________________________________________




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Debtor        Greensill Capital Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Kyle J. Ortiz
                                            _____________________________________________            Date       3/25/2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Kyle J. Ortiz
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Togut, Segal & Segal LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           One Penn Plaza, Suite 3335
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            New York
                                           ____________________________________________________             NY
                                                                                                           ____________  10119
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (212) 594-5000
                                           ____________________________________                             kortiz@teamtogut.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4818571
                                           ______________________________________________________  New York
                                                                                                  ____________
                                           Bar number                                             State




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       Fill in this information to identify the case:

       Debtor name    Greensill Capital Inc.

       United States Bankruptcy Court for the:   Southern                District of   New York
                                                                                       (State)                                                  Check if this is an
       Case number (If known):                                                                                                                      amended filing



    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.*


     Name of creditor and complete                Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code          email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                  contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated,   total claim amount and deduction for value of
                                                                                  services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)

                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
1     Brian Haezebroeck                           haezebroeck@msn.com              Employee                 N/A               N/A                N/A              $43,260.00
                                                                                   Obligations



2     Pieter Frederik Boom                        pfboom01@gmail.com               Employee                 N/A               N/A                N/A              $39,615.38
                                                                                   Obligations



3     Randolph Habeck                             dolph.habeck@mac.com             Employee                 N/A               N/A                N/A               $37,692.31
                                                                                   Obligations



4     Shinichi Cowe                               srcowe@gmail.com                 Employee                 N/A               N/A                N/A              $33,051.12
                                                                                   Obligations



5     Donatus Anusionwu                           danusionwu@gmail.com             Employee                 N/A               N/A                 N/A              $32,307.69
                                                                                   Obligations



6     Lucia Martinez                              luciamartinezcfa@gmail.com       Employee                 N/A               N/A                N/A              $31,634.62
                                                                                   Obligations



7     Michael Pilat                               mike@mikepilat.com               Employee                 N/A               N/A                 N/A              $29,615.38
                                                                                   Obligations



8     Ryan Waterman                               rwaterman@centurylink.net        Employee                 N/A               N/A                N/A               $27,730.77
                                                                                   Obligations




      *The Debtor has requested authority from the Bankruptcy Court to pay certain of the amounts reflected herein.


    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
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    Debtor         Greensill Capital Inc.                                                   Case number (if known)
                   Name




     Name of creditor and complete          Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)

                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9     John Smith                            johnswood77@gmail.com         Employee                  N/A               N/A                N/A              $27,103.85
                                                                          Obligations



10 Sarood Baig                              stbaig@gmail.com              Employee                  N/A               N/A                N/A              $27,103.85
                                                                          Obligations



11 Thomas Owen                              towen@iowatelecom.net         Employee                  N/A               N/A                 N/A              $26,740.38
                                                                          Obligations



12 Jacob Streit                             jakes918@gmail.com            Employee                  N/A               N/A                N/A              $25,961.54
                                                                          Obligations



13 Jamey Ross                               rossjamey@gmail.com           Employee                  N/A               N/A                 N/A              $25,750.00
                                                                          Obligations



14 Scott Cline                              scbball33@gmail.com           Employee                  N/A               N/A                N/A              $25,750.00
                                                                          Obligations



15 Marisa Lazatin                           marisabgorman@gmail.com       Employee                  N/A               N/A                 N/A              $24,759.62
                                                                          Obligations



16 Indirah Toovey                           indi2v50@gmail.com            Employee                  N/A               N/A                 N/A              $24,230.77
                                                                          Obligations



17 Matthew Wright                           matthewwright@gmail.com       Employee                  N/A               N/A                N/A               $24,230.77
                                                                          Obligations



18 Dinesh Kumar                             hdinkumar@yahoo.com           Employee                  N/A               N/A                 N/A              $24,230.77
                                                                          Obligations



19 Thomas Coenen                            tcoenen@gmail.com             Employee                  N/A               N/A                N/A               $24,066.35
                                                                          Obligations



20 John Zimmerman                           j.zimmerman@yahoo.com         Employee                  N/A               N/A                N/A               $23,692.31
                                                                          Obligations




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                     Chapter 11

    GREENSILL CAPITAL INC.,                                    Case No.: 21-_____ (___)

                                       Debtor.1


                             LIST OF EQUITY SECURITY HOLDERS2

       Debtor             Equity Holder              Address of Equity Holder             Percentage of
                                                                                          Equity Held

                     Greensill Capital               1 Southampton Street,              100%
    Greensill        Management (UK)                 Covent Garden, London,
    Capital Inc.     Limited                         WC2R 0LR
                     (in administration)




1
      The last four digits of the Debtor’s federal tax identification number are 3971. The Debtor’s corporate
      headquarters are located at 2 Gansevoort Street, New York, New York 10014.

2
      This list serves as the disclosure required to be made by the Debtors pursuant to Rule 1007 of the
      Federal Rules of Bankruptcy Procedure. The equity position listed is as of the date of commencement
      of the chapter 11 case.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                     Chapter 11

    GREENSILL CAPITAL INC.,                                    Case No.: 21-_____ (___)

                                       Debtor.1


                            CORPORATE OWNERSHIP STATEMENT

                  Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, Greensill Capital Inc., (the “Debtor”), as debtor and

debtor-in-possession in the above-captioned case, respectfully represents that Greensill

Capital Management (UK) Limited (in administration) directly owns 100% of the equity

interest in the Debtor.




1
      The last four digits of the Debtor’s federal tax identification number are 3971. The Debtor’s corporate
      headquarters are located at 2 Gansevoort Street, New York, New York 10014.
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                                Greensill Capital Inc.

                                Secretary’s Certificate



      The undersigned, being the Secretary of Greensill Capital Inc., a Delaware
corporation (the “Company”), does hereby certify as follows:

      Attached hereto as Annex A is a true, correct and complete copy of the
      resolutions duly adopted by the Board of Directors of the Company on
      March 25, 2021 (the “Resolutions”), and such Resolutions have not been
      modified or rescinded in whole, in part, or in any respect and are in full
      force and effect.

      IN WITNESS WHEREOF, the undersigned, in his capacity as Secretary of the
Company has duly executed and caused this certificate to be delivered as of
March 25, 2021.

                                        GREENSILL CAPITAL INC.

                                        By: /s/ Hugh McKee
                                            Name: Hugh McKee
                                            Title: Corporate Secretary
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             RESOLUTIONS ADOPTED BY UNANIMOUS APPROVAL
                AT A MEETING OF THE BOARD OF DIRECTORS

                              GREENSILL CAPITAL INC.
                                  March 25, 2021

   The members of the Board of Directors (the “Board”) of GREENSILL CAPITAL
   INC., a Delaware Corporation (the “Corporation”), do hereby consent to the
   taking of the following actions and do hereby adopt the following resolutions
   following a special meeting of the Board, all in accordance with applicable law,
   and all statutory and bylaw requirements pertaining thereto:

           WHEREAS, special meetings of the Board were held virtually on March 24,
   2021 and March 25, 2021, of which all members of the Board were provided
   sufficient notice;

         WHEREAS, the following members of the Board were present for the
   meetings: Alexander (Lex) D. Greensill and Jill Frizzley;

          WHEREAS, the Board has considered the presentations by the
   Corporation’s management and its legal advisors regarding the liabilities and
   liquidity of the Corporation, the alternatives available to it, and the effect of the
   foregoing on the Corporation and its creditors and other parties in interest;

          WHEREAS, the Board has reviewed the recommendations of the
   Corporation’s advisors as to the relative risks and benefits of the alternatives
   available to the Corporation, including filing a bankruptcy proceeding (the
   “Bankruptcy Case”) under the provisions of Chapter 11 of Title 11 of the United
   States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), which contemplates
   entering into the debtor-in-possession financing (the “DIP Financing”), and has
   received and reviewed forms or descriptions of the key “first day” filings that
   would be proposed to be made by the Corporation in connection with the
   Bankruptcy Case (the “Initial Filings”);

         WHEREAS, the Board has received and reviewed forms of the agreement
   between the Corporation and its affiliate, Greensill Capital (UK) Limited (the
   “Services Agreement”), which are currently under administration proceedings in
   the United Kingdom (the “Administration”) overseen by three joint
   administrators (the “Administrators”), which provides for funding and
   reimbursement of the Corporation’s costs in connection with its continued
   employment of certain of its employees; and

           WHEREAS, after review and due consideration of all of the information
   presented to the Board, the Board deems it advisable and in the best interests of
   the Corporation, creditors, stakeholders, and other interested parties, for the
   Corporation to commence the Bankruptcy Case by filing a voluntary petition for
   relief under chapter 11 of the Bankruptcy Code (the “Petition”).
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   NOW, THEREFORE, BE IT:

      I.     CHAPTER 11 FILING AUHORITY

          RESOLVED, that in the judgment of the Board, it is desirable and in the
   best interests of the Corporation, creditors, stakeholders, and other interested
   parties that the Petition and the Initial Filings be filed by the Corporation in the
   United States Bankruptcy Court for the Southern District of New York (the
   “Bankruptcy Court”); and be it

          FURTHER RESOLVED, that the Corporation shall be, and hereby is,
   authorized, directed and empowered (i) to file the Petition and the Initial Filings
   and (ii) to perform any and all such acts as are reasonable, advisable, expedient,
   convenient, proper or necessary to effect the foregoing; and be it

           FURTHER RESOLVED, that any director, or officer, of the Corporation,
   (each, a “Designated Person” and collectively, the “Designated Persons”) be, and
   each of them, acting alone, hereby is, authorized, directed and empowered, on
   behalf of and in the name of the Corporation to execute and verify the Petition and
   the Initial Filings as well as all other ancillary documents and to cause the Petition
   and the Initial Filings to be filed with the Bankruptcy Court, and to make or cause
   to be made prior to the execution thereof any modifications to the Petition, the
   Initial Filings, or any ancillary documents, and to execute, verify and file or cause
   to be filed all petitions, schedules, lists, motions, applications and other papers or
   documents, agreements, deeds, letters, instruments or certificates necessary or
   desirable in connection with any of the foregoing; and be it

      II.    RETENTION OF PROFESSIONALS

           FURTHER RESOLVED, that, in connection with the Bankruptcy Case, each
   Designated Person is hereby authorized, empowered, and directed with full power
   of delegation, in the name and on behalf of the Corporation to employ and retain
   all assistance by legal counsel, accountants, financial advisors, investment bankers,
   and other professionals, on behalf of the Corporation, which such Designated
   Person deems necessary, appropriate or advisable in connection with, or in
   furtherance of the Bankruptcy Case, with a view to the successful prosecution of
   the Bankruptcy Case (such acts to be conclusive evidence that such Designated
   Person deemed the same to meet such standard); and be it

          FURTHER RESOLVED, that the law firm of Togut, Segal & Segal LLP is
   hereby retained as chapter 11 counsel for the Corporation in the Bankruptcy Case,
   subject to Bankruptcy Court approval; and be it

          FUTHER RESOLVED, that in addition to the existing signatories of the
   Corporation, any Designated Person, acting alone or in any combination, be, and
   hereby is, authorized to cause the Corporation to employ other special counsel,
   financial advisors, investment bankers, accountants, restructuring advisors and
   other professionals as appropriate in connection with the Bankruptcy Case and all
   related matters; and be it




                                                 2
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      III.   SERVICES AGREEMENT

          FURTHER RESOLVED, that the form, terms, and provisions of the
   Services Agreement between the Corporation and the Administrator, and the
   Corporation’s performance of its obligations under the Services Agreement be,
   and hereby are, in all respects, approved; and be it

         FURTHER RESOLVED, that all acts and actions taken by the Designated
   Persons prior to the date hereof with respect to the Services Agreement be, and
   hereby are, in all respects confirmed, approved, and ratified; and be it

      IV.    DEBTOR-IN-POSSESSION FACILITY

           FURTHER RESOLVED, that the form, terms, and provisions of the
   Debtor-In-Possession Credit Agreement (the “DIP Credit Agreement”) by and
   between the Corporation, as debtor and debtor-in-possession in the Bankruptcy
   Case, and Peter Greensill Family Trust (the “DIP Lender”) and the Corporation’s
   performance of its obligations under the DIP Credit Agreement be, and hereby are,
   in all respects, approved; and further resolved, that the form, terms and provisions
   of each of the instruments and documents ancillary to the DIP Credit Agreement
   (together with the DIP Credit Agreement, collectively, the “DIP Documents”), are
   hereby in all respects approved, and the Designated Persons, provided that for
   purposes of Section IV herein, Mr. Greensill shall not be included within the
   meaning of “Designated Persons”, hereby are authorized and empowered to
   execute and deliver the DIP Credit Agreement, and each of the DIP Documents, in
   the name and on behalf of the Corporation under its corporate seal or otherwise,
   substantially in the forms reviewed by the Designated Persons, with such changes
   therein and modifications and amendments thereto as the Designated Persons may
   in their sole discretion approve, which approval shall be conclusively evidenced
   by his execution thereof; and be it

           FURTHER RESOLVED, that the Designated Persons be, and hereby are,
   authorized and empowered to take all such further actions including, without
   limitation, to pay all fees and expenses, in accordance with the terms of the DIP
   Documents, to arrange for and enter into supplemental agreements, amendments,
   instruments, certificates, or documents relating to the transactions contemplated
   by the DIP Credit Agreement or any of the other DIP Documents and to execute
   and deliver all such supplemental agreements, amendments, instruments,
   certificates, or documents in the name and on behalf of the Corporation under its
   corporate seal or otherwise, which shall in his or her sole judgment be necessary,
   proper or advisable in order to perform the Corporation’s obligations under or in
   connection with the DIP Credit Agreement or any of the other DIP Documents
   and the transactions contemplated therein, and to carry out fully the intent of the
   foregoing resolutions; and be it

         FURTHER RESOLVED, that the Designated Persons be, and hereby are,
   authorized and empowered to execute and deliver any amendments, amendment
   and restatements, supplements, modifications, renewals, replacements,
   consolidations, substitutions and extensions of the DIP Credit Agreement or any


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   of the DIP Documents which shall in their sole judgment be necessary, proper or
   advisable; and be it

           FURTHER RESOLVED, that all acts and actions taken by the Designated
   Persons prior to the date hereof with respect to the transactions contemplated by
   the DIP Credit Agreement and any of the other DIP Documents be, and hereby
   are, in all respects confirmed, approved, and ratified; and be it

      V.     GENERAL

          FURTHER RESOLVED, that in addition to the specific authorizations
   heretofore conferred upon the Designated Persons, and in addition to the existing
   signatories of the Corporation, any of the Designated Persons, acting alone or in
   any combination, be, and hereby is, authorized, directed and empowered, in the
   name and on behalf of the Corporation, to do or cause to be done all such further
   acts and things, including the payment of all fees, expenses, appropriate retainers
   and other amounts payable by the Corporation with respect to the foregoing, and
   to execute and deliver all such other instruments, certificates, agreements and
   documents as he or she may consider necessary or appropriate to enable the
   Corporation to carry out the intent and to accomplish the purposes of the
   foregoing resolutions; and be it

          FUTHER RESOLVED, that all actions heretofore taken by any manager,
   officer, or director of the Corporation in connection with the foregoing resolutions,
   the Petition, the Initial Filings, and related matters be, and they hereby are,
   confirmed, ratified and approved in all respects; and be it

           FURTHER RESOLVED, that each of the Designated Persons (and their
   designees and delegates) be, and hereby is, authorized and empowered to take
   all actions or to not take any action in the name of the Corporation with respect
   to the transactions contemplated by these resolutions hereunder, as such
   Designated Person shall deem necessary or desirable in the Designated Person’s
   reasonable business judgment as may be necessary or convenient to effectuate
   the purposes of the transactions contemplated herein.



                     [Remainder of page left blank intentionally]




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